                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA


 UNITED STATES OF AMERICA                             )
                                                      )       Case No. 1:10-cr-158
 v.                                                   )
                                                      )       COLLIER / LEE
 MICHAEL DAVID BLEDSOE                                )

                                            ORDER

        Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

 (1) grant Defendant’s motion to withdraw his not guilty plea to Count One of the seven-count

 Indictment; (2) accept Defendant’s plea of guilty to Count One; (3) adjudicate Defendant guilty of

 the charges in Count One of the Indictment; (4) defer a decision on whether to accept the plea

 agreement until sentencing; and (5) Defendant has been released on bond under appropriate

 conditions of release pending sentencing in this matter (Court File No. 140). Neither party filed a

 timely objection to the report and recommendation. After reviewing the record, the Court agrees

 with the magistrate judge’s report and recommendation. Accordingly, the Court ACCEPTS and

 ADOPTS the magistrate judge’s report and recommendation (Court File No. 140) pursuant to 28

 U.S.C. § 636(b)(1) and ORDERS as follows:

        (1)     Defendant’s motion to withdraw his not guilty plea to Count One of the Indictment

                is GRANTED;

        (2)     Defendant’s plea of guilty to the charges in Count One is ACCEPTED;

        (3)     Defendant is hereby ADJUDGED guilty of the charges in Count One;

        (4)     A decision on whether to accept the plea agreement is DEFERRED until sentencing;

                and

        (5)     Defendant SHALL REMAIN on bond under appropriate conditions of release



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            pending sentencing in this matter, which is scheduled to take place on Thursday,

            November 3, 2011 at 2:00 p.m. before the Honorable Curtis L. Collier.

       SO ORDERED.

       ENTER:

                                         /s/
                                         CURTIS L. COLLIER
                                         CHIEF UNITED STATES DISTRICT JUDGE




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